                               Case 23-50444-JTD            Doc 55    Filed 10/23/23   Page 1 of 2




                                         James E. O'Neill                October 23, 2023                    302.778.6407
                                                                                                      joneill@pszjlaw.com




W I L M I N G T O N, D E
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
N E W Y O R K, N Y                       Via Email
H O U S T O N, T X
                                         Via Hand Delivery
919 NORTH MARKET STREET
17th FLOOR                                The Honorable John T. Dorsey
P.O. BOX 8705
WILMINGTON
                                          United States Bankruptcy Court
DELAWARE 19899-8705                       District of Delaware
TELEPHONE: 302.652.4100                   824 N. Market Street
FACSIMILE: 302.652.4400                   Wilmington, DE 19801
LOS ANGELES                                         Re:       FTX Trading Ltd., et al., v. Platform Life Sciences
10100 SANTA MONICA BLVD.
                                                              Inc. Adv. Pro. No. 23-50444 (JTD)
13th FLOOR
LOS ANGELES
CALIFORNIA 90067-4003                    Dear Judge Dorsey:
TELEPHONE: 310.277.6910
FACSIMILE: 310.201.0760
                                                 We represent Defendant Platform Life Sciences, Inc.
                                         (“PLS”) in the above-referenced matter. We write to the Court
SAN FRANCISCO                            regarding oral argument scheduled for tomorrow, October 24th at
ONE SANSOME STREET                       10:00 a.m. (ET) on the Motions to Dismiss filed by PLS. Argument
34th FLOOR, SUITE 3430
                                         on the Motions to Dismiss was originally scheduled by the Court at
SAN FRANCISCO
CALIFORNIA 94104
                                         the pretrial conference for October 19th as a virtual Zoom hearing.
TELEPHONE: 415.263.7000
                                         When we were advised on October 16th by counsel to the Debtors
FACSIMILE: 415.263.7010                  that the Court had requested that the matter be adjourned to October
                                         24th, we responded as follows: “Oct. 24 at 10:00 a.m. eastern for a
NEW YORK                                 virtual hearing works for PLS Canada. Thank you.” We received
780 THIRD AVENUE
                                         no response from the Debtors indicating that the hearing would not
34th FLOOR
NEW YORK
                                         be virtual. We now understand that the Court requests that counsel
NEW YORK 10017-2024                      for PLS be present in person at the hearing on the Motions to
TELEPHONE: 212.561.7700
                                         Dismiss.
FACSIMILE: 212.561.7777

                                                Alan Kornfeld, who will be arguing for PLS, anticipated that
TEXAS                                    he would attend tomorrow’s hearing on the Motions to Dismiss via
440 LOUISIANA STREET
SUITE 900
                                         Zoom. Mr. Kornfeld has been, and is currently, involved in
HOUSTON                                  negotiations in a separate matter pending before Judge Horan and
TEXAS 77002-1062                         does not have plans in place to travel to Delaware for tomorrow’s
TELEPHONE: 713.691.9385                  hearing. Mr. Kornfeld is resident in our firm’s Los Angeles office.
FACSIMILE: 713.691.9407                  While his schedule would have accommodated the virtual Zoom

WEB:   www.pszjlaw.com
                                         DOCS_DE:245477.1 30239/001
Case 23-50444-JTD       Doc 55         Filed 10/23/23   Page 2 of 2



           The Honorable John T. Dorsey
           October 23, 2023
           Page 2


          hearing we anticipated for tomorrow, because of travel time and his
          responsibilities in the other matter (which he would be unable to
          handle while in transit), an in-person hearing is not possible for
          tomorrow.

                 Accordingly, we would respectfully request that the
          argument on the Motions to Dismiss be adjourned to a date after this
          week that works for the Court and the parties. We are happy to
          work with Your Honor’s chambers and Debtors’ counsel to arrive at
          such a date.

                 We apologize to the Court for any misunderstanding or
          inconvenience.

                                             Very truly yours,



                                             /s/ James E. O’Neill
                                             James E. O'Neill

          JEO:irl




          DOCS_DE:245477.1 30239/001
